Case 1:22-cv-20489-KMM Document 21-1 Entered on FLSD Docket 05/26/2022 Page 1 of 6

PAYMENT (INSTALLMENT) AGREEMENT

|. THE PARTIES. This Payment Installment Agreement (“Agreement”) dated October 10th,
2020, is by and between:

Creditor: Delikrunch SAS, with a mailing address of Cra. 14 No. 103-26 Bodega 9, City of Perei-
ra, State of Risaralda, Country of Colombia (“Creditor”), and

Debtor: Freshly V Inc, with a mailing address of 175 SW 7 Street No. 1808, City of Miami, State
of Florida, Zip 33130, represented by Raynier Plasencia (“Debtor”).

 

HEREINAFTER, the Debtor and Creditor (“Parties”) agrees to the following:
ll. BALANCE. At the time of this Agreement, the Debtor owes the Creditor the amount of two-

hundred twenty nine thounsand three hundred seventy five Dollars with 7 cents ($229,375.07)
(“Current Balance”) for: (check one)

0 - an Outstanding Balance.

D - Property described as:

 

( - Service described as:

 

& - Sales of Goods, describe as: Five containers of Hawaiian Style Tostones (210,519 Ib) and
Bags and Boxes of the 6" container

D) - Other:

 

tt. DISCOUNTED BALANCE. in consideration of the Debtor's faith to repay the Current Bal-
ance in this Agreement, the Creditor agrees to: (check one)

&l - No Discounted Balance. The Debtor shall pay the full Current Balance (“Amount Owed”).

CO -A Discounted Balance. The Debtor shall only be obligated to pay the discounted amount of

Dollars ($ ) ("Amount Owed"). If the Debtor should default
under any of the terms of this Agreement, the Debtor shall owe the Creditor the Current Balance
in addition to other penalties, fees, and any accumulated interest.

IV. REPAYMENT PLAN. To satisfy the Amount Owed, the Debtor agrees to repay the Creditor
under the following terms:

a.) Down-Payment. The Debtor shall pay: (check one).

&) - Down-Payment of $20,106.02 (twenty thousand one hundred six dollars with
2 cents).
0 - No Down-Payment.

Page 1 of 3
 

 

 

Case 1:22-cv-20489-KMM Document 21-1 Entered on FLSD Docket 05/26/2022 Page 2 of 6

b.) Interest Rate. The Amount Owed shall: (check one)
&) - Bear interest at a rate of twelve percent (12.00%) compounded annually. The
rate must be equal to or less than the usury rate in the State of the Debtor.

0 - Not bear interest.
c.) Repayment Period. The Debtor shall re-pay the Creditor on a: (check one)

C) - Monthly basis beginning on , 20 , in the amount of
$ to be paid onthe __ of every month ending on

, 20 or when the Amount Owed is paid-in-full.
0 - Bi-Weekly basis beginning on ,2Q _, in the amount
of $ to be paid every fourteen (14) days endiag

, 20 or when the Amount Owed is paid-in-ful).
0 - Weekly basis beginning on , 20 , in the amount of
$ to be paid every seven (7) days ending on ,
20___ or when the Amount Owed is paid-in-full.
&] - Other. Beginning on October 26th, 2020 and as the cash flow of Freshly V
Inc. allows it.

d.) Payment Instructions. The Debtor is required to pay the Creditor under the following in-
structions: Account No.166069996717, Bank’s name: Banco Davivienda, Account type:
checking, SWIFT code: CAFECOBB, Beneficiary’s name: Delikrunch SAS, Beneficiary’s
ID 900641512-4.

V. LATE PAYMENT. Any partial or late payment under this Agreement shall: {check one)
& - Not be allowed and consider the Debtor in default.

0 - Allow the Debtor to make payment within days provided the Debtor pays a late fee of:
(“Extension Period”).

If payment is not made within the Extension Period, this Agreement shall be in default.

 

Vi. PREPAYMENT. The Debtor may: (check enc)
& - Pre-pay the Amount Owed without pervatty.

D - Not prepay the Amount Owed. if the Debtor decides to prepay the Amount Owed, the Debt-
or shall pay the penalty of: :

 

Vil. CO-SIGNER. (check the appropriate.box)
D - This Agreement shall not have a Co-Signer.

& - This Agreement shall have a Co-Signer known as Juan Camilo Arcila, passport No.
A0Q626972 hereinafter known as the "Co-Signer” and agrees to the liabilities and obligations on
behalf of the Debtor under the terms of this Agreement. If the Debtor does not make a payment,
the Co-Signer shall be personally responsible and therefore is guaranteeing payment of the
principal, late fees, and all accrued interest under the terms of this Agreement.

Page 2 of 3
Case 1:22-cv-20489-KMM Document 21-1 Entered on FLSD Docket 05/26/2022 Page 3 of 6

Vill. DEFAULT. If for any reason the Debtor should not oblige to any section or portion of this
Agreement, the Debtor shall be considered in default. Under such an event, the remaining bal-
ance of the Amount Owed shall be due within five (5) business days with the Debtor liable to
pay all reasonable attorney's fees and costs of collection of the Creditor. In addition, the Creditor
may reclaim any property or goods in connection with the Amount Owed, hold and dispose of
the same, and collect expenses, together with any deficiency due from the Debtor, subject to the
Debtor's right to redeem said items pursuant to law.

IX. GOVERNING LAW. This Agreement shall be governed by, and construed in accordance
with, the laws of the State of Florida (“Governing Law’).

X. SEVERABILITY. The unenforceability or invalidity of any clause in this Agreement shall not
have an impact on the enforceability or validity of any other clause. Any unenforceable or invalid
clause shall be regarded as removed from this Agreement to the extent of its unenforceability
and invalidity. Therefore, this Agreement shall be interpreted and enforced as if it did not contain
the said clause to the extent of its unenforceability and invalidity.

XI. ADDITIONAL TERMS & CONDITIONS. This agreement includes any other contracts or
deals entered into the parties and constitute an entire payment of any other claim or right deri-
vate of this or any other business relation. Therefore, this agreement finishes the entire com-
mercial relationship between them and shall not be continued or revived by any other document
unless those parties agreed to sign an entire different contract. None of parties, will demand
or claim any right over trade marks, brands and commercial advantages of the other, related or
derivate of their commercial relation in the past.

Xil. ENTIRE AGREEMENT. This Agreement contains all the terms agreed to by the Debtor and
Creditor relating to its subject matter, including any attachments or addendums. This Agree-
ment replaces all previous discussions, understandings, and oral agreements.

IN WITNESS WHEREOF, the Parties have executed this Agreement as of the undersigned
dates written below.

Debtor’s Signature: Coppin Cane Date: October 10: 2020

Print: Raynier Plasencia

Co-Signer’s Signature (if any): Date: October 10": 2020
Print: Juan Camilo Arcila

Creditor’s Signature: Date: October 10": 2020

Print: Carlos Elizalde

Page 3 of 3
 

Case 1:22-cv-20489-KMM Document 21-1 Entered on FLSD Docket 05/26/2022 Page 4 of 6
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Page 1 of 3

 
Case 1:22-cv-20489-KMM Document 21-1 Entered on FLSD Docket 05/26/2022 Page 5 of 6

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c.) Repayment Period. The Debtor shall re-pay the Creditor on a: (check one)

 

 

 

 

 

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(“Extension Period”).
If payment is not made within the Extension Period, this Agreement shall be in default.

 

VI. PREPAYMENT. The Debtor may: (check one)
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Page 2 of 3
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Case 1:22-cv-20489-KMM Document 21-1 Entered on FLSD Docket 05/26/2022 Page 6 of 6

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Debtor’s Signature: Date: October 10": 2020

Print: Raynier Plasencia

Co-Signer’s Signature (if wea fact a Date: October 10" 2020
Print: Juan Camilo Arcila (/

Creditor’s Signature: AS RE Date: October 10" 2020

Print: Carlos Elizalde

Page 3 of 3
